                                  EXHIBIT B

                                 Proposed Order




DOCS_DE:240650.3 75015/003
 Case 2-20-20230-PRW, Doc 1653-2, Filed 09/21/22, Entered 09/21/22 16:14:29,
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                                   Hearing Date and Time: November 3, 2022 at 10:00 a.m. (prevailing Eastern Time)


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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :                  Chapter 11
                                                               :
ROCHESTER DRUG                                                 :                  Case No. 20-20230 (PRW)
CO-OPERATIVE, INC.                                             :
                                                               :
                  Debtor.                                      :
---------------------------------------------------------------x


                        ORDER GRANTING LIQUIDATING TRUSTEE’S
                    OBJECTION TO CLAIM 380 ASSERTED BY SHAREHOLDER
                             BAEDERWOOD PHARMACY, INC.


           Upon the Objection of the Liquidating Trustee to Claim 380 Asserted by Shareholder

Baederwood Pharmacy, Inc. (the “Objection”)1 pursuant to which the Liquidating Trustee requested

an order (the “Order”) reclassifying Claim 380 (the “Claim”) as a Class 3 Interest pursuant to section

502(b) of the Bankruptcy Code and Bankruptcy Rule 3007, all as more fully set forth in the

Objection; and upon the Declaration of David Greenblatt; and the Court having found that it has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of



1
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Objection.


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Reference from the United States District Court for the Western District of New York, dated

February 29, 2012, and the Court having found that this is a core proceeding pursuant to 28 U.S.C. §

157(b)(2); and the Court having found that venue of this proceeding and the Objection in this district

is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having found that the Liquidating

Trustee provided appropriate notice of the Objection and the opportunity for a hearing on the

Objection under the circumstances; and the Court having reviewed the Objection; and the Court

having determined that the legal and factual bases set forth in the Objection establish just cause for

the relief granted herein; and upon all of the proceedings had before the Court; and after due

deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

                 1.          The Objection is granted.

                 2.          Claim 380 is reclassified as a Class 3 Interest.

                 3.          The claims agent is authorized and directed to update the Claims Register to

reflect the relief granted in this Order.

                 4.          Entry of this Order is without prejudice to the Liquidating Trustee’s right to

object to any other Claims in this chapter 11 case or to further object to the Claim (to the extent it is

not disallowed and expunged pursuant to this Order).

                 5.          The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

                 6.          The Liquidating Trustee is authorized to take all actions necessary to

effectuate the relief granted pursuant to this Order in accordance with the Objection.




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                 7.          This Court retains jurisdiction with respect to all matters arising from or

related to the implementation of this Order.

Dated: _____________________, 2022


                                                    THE HONORABLE PAUL R. WARREN,
                                                    UNITED STATES BANKRUPTCY JUDGE




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